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                                   16758




                  EXHIBIT 13
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                                         16759



From:                   David Campbell <dcampbell@dhdgclaw.com>
Sent:                   Thursday, April 22, 2021 1:09 PM
To:                     Strauss, Samantha A
Cc:                     Siegel, Joshua; Mills, David
Subject:                RE: Stipulations as to Authenticity - Follow Up


[External]

Samantha,

My apologies, and thank you for pointing that out. I looked over the initial disclosures and responses to interrogatories
and requests for production for just this sort of thing. However, I neglected to look at the RFA responses. I will not
refuse a stipulation on the basis that Fields did not use an account that he has already admitted using in the RFAs.

As for the attempted deposition, Fields refused to be sworn in for his testimony. He did “appear” and did converse with
counsel for nearly an hour. The fact that he was not initially sworn in was realized some ways into the attempted
questioning. He refused to answer nearly all questions and focused on repeatedly reporting his perceived mistreatment
at the facility and demands to be removed from the prison to a medical facility for treatment and that all legal
questioning/testimony be in person.

Thanks,
Dave
______________________________________
David L. Campbell
DUANE, HAUCK, DAVIS, GRAVATT & CAMPBELL, P.C.
100 West Franklin Street
Richmond, Virginia 23220
Telephone No.: (804) 644-7400
Facsimile: (804) 303-8911

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have received this electronic transmission in error, please notify us by telephone at (804) 644-7400 or by electronic mail at
dcampbell@dhgclaw.com immediately.




From: Strauss, Samantha A <sastrauss@cooley.com>
Sent: Wednesday, April 21, 2021 3:13 PM
To: David Campbell <dcampbell@dhdgclaw.com>
Cc: Siegel, Joshua <jsiegel@cooley.com>; Mills, David <dmills@cooley.com>
Subject: RE: Stipulations as to Authenticity ‐ Follow Up

Dave,

Thank you for letting us know about the deposition subpoena. Did the deposition go forward on the 16th?


                                                                     1
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                                         16760
We also wanted to follow up with you regarding the Stipulations. You mentioned one problem you had with some of
them was they referred to certain social media accounts as Fields’s accounts, but you have not been able to get him to
confirm he used them. In his response to the RFAs, however, Fields already admitted using each of the accounts
mentioned in the stipulations (with the exception of the “AzrielLevy” account, which he had not disclosed at the time we
served the RFAs). We are including the full Requests for Admissions for your convenience (see, e.g., RFA Nos. 367, 375,
376, and 377).

Given that Fields has already admitted to using these social media accounts, please confirm that you will not refuse a
stipulation on the basis that it references the fact that Fields used an account which he already admitted using in his
response to the RFAs. With that understanding, we expect to get you a revised draft this week.

Thanks,

Samantha Strauss
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
(enter from 12th and E Streets)
Washington, DC 20004-2400
+1 202 962 8343 office
+1 202 842 7899 fax
                  mobile
sastrauss@cooley.com

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From: David Campbell <dcampbell@dhdgclaw.com>
Sent: Wednesday, April 14, 2021 5:02 PM
To: Strauss, Samantha A <sastrauss@cooley.com>
Cc: Siegel, Joshua <jsiegel@cooley.com>; Mills, David <dmills@cooley.com>
Subject: RE: Stipulations as to Authenticity ‐ Follow Up

[External]

All,
Just wanted to give you a heads up of an issue related to Fields that does not necessarily concern this case but I am sure
would be of interest to you. Yesterday afternoon, I received an email from an attorney, John Burns who advised that he
had served James Fields with a non‐party witness deposition subpoena for case arising from events related to August 12,
2017. I have attached the deposition notice I received just today. No one from the prison has ever responded to any of
his phone calls or messages, and no one provided him with any information as to counsel for Fields. I spoke with Mr.
Burns and advised that I did not believe I could move to quash his subpoena based on the same Court’s ruling on my
motion to quash in the Sines, et. al. case. I did direct him to the document number of my motion to quash to
demonstrate the issues I think he will run into if the BOP makes Fields available Friday.

I have agreed to participate via Zoom and see what happens on Friday. Perhaps this will be instructive in our case. Mr.
Burns has not received any confirmation from BOP folks as to whether they are even going to make Fields available
pursuant to his subpoena. I will report back promptly on what, if anything, happens.

Thanks,
Dave



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